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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION



  FUSION ELITE ALL STARS, et al.,

                   Plaintiffs,
                                          Case No. 2:20-cv-02600-SHL-tmp
  v.
                                          JURY TRIAL DEMANDED
  VARSITY BRANDS, LLC, et al.,

                   Defendants.


  JONES, et al.,

                   Plaintiffs,
                                          Case No. 2:20-cv-02892-SHL-tmp
  v.
                                          JURY TRIAL DEMANDED
  BAIN CAPITAL PRIVATE EQUITY, et al.,

                   Defendants.



    PLAINTIFFS’ JOINT RESPONSE TO DEFENDANTS’ MOTION TO MODIFY
   PREVIOUS DISCOVERY ORDERS THAT ALLOW SHARING OF DISCOVERY
  MATERIALS (ECF NO. 97) AND COORDINATION OF DEPOSITIONS (ECF NO. 172)
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        The Plaintiffs in the Jones and Fusion Elite cases1 hereby respond to the Defendants’

 Motion and Supporting Memorandum to Modify Previous Discovery Orders (Jones, ECF 357 or

 “Motion”). This response is supported by the Declaration of David Seidel (“Seidel Decl.”). For

 the reasons set forth below, the Jones and Fusion Plaintiffs take no position on Defendants’

 Motion, so long as Defendants’ requested relief is clarified to ensure it does not go beyond

 Defendants’ justifications related to timing. The Jones and Fusion Plaintiffs and the Defendants

 have negotiated a more specific set of relief to which the Defendants agree, and to which the

 Jones and Fusion Plaintiffs do not object.

        Defendants’ motion is based entirely on the changed discovery schedule. See ECF 357. It

 argues that because the American Spirit timeline is now several months after the Fusion and

 Jones’ timelines, Defendants could be prejudiced in two ways: First, that the American Spirit

 Plaintiffs could get an unfair advantage by accessing the expert materials in the Fusion and Jones

 cases before their own schedule’s expert disclosures. See ECF No. 357 at 4 (“The current

 discovery orders did not contemplate a scenario in which the cases would be on such different

 tracks that the American Spirit Plaintiffs would be privy to confidential, strategically useful

 expert discovery months before their own deadline to disclose experts and produce an opening

 expert report.”); Id. at 5 (noting that if American Spirit Plaintiffs could attend the expert

 depositions in Jones and Fusion, they would be privy to expert opinions “long before they are

 required to make initial expert disclosures.”); Id. (arguing it would be unfair “if the American

 Spirit Plaintiffs could access the opinions of Defendants’ experts before ever having to disclose

 their own experts’ opinions”); id. at 6 (same). And second, Defendants seek to prevent the new



 1 This response is made by Plaintiffs Jessica Jones and Christina Lorenzen (“Jones Plaintiffs”),

 together with Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and
 Stripes Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne
 Radek, Lauren Hayes, and Janine Cherasaro (“Fusion Plaintiffs”).
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 scheduling differences from allowing the Jones and Fusion Plaintiffs to have a “second

 opportunity” to depose Defendants’ experts months later during the American Spirit depositions.

 Id. at 6.

         However, the language of the requested relief used in the Motion arguably goes much

 further than the bases for seeking it. The Jones and Fusion Plaintiffs are not opposed to

 Defendants’ requested relief so long as it is limited to addressing the potential pitfalls with the

 new timing of expert discovery among the three cases. But the Jones and Fusion Plaintiffs do

 oppose any relief that would prevent access to expert materials beyond that. The first paragraph

 of the Motion’s requested relief would appear to preclude sharing of expert reports for all time,

 rather than merely prohibiting the sharing until all reports have been duly disclosed under each

 case’s scheduling order. See ECF No. 357 at 7. Once all reports have been properly disclosed in

 all three cases, there is no longer any concern that the American Spirit Plaintiffs would gain any

 advantage by seeing the reports from Jones and Fusion. And once the reports have been

 disclosed in all three cases, it is critical for Plaintiffs to be able to have access to the materials

 from all three cases as they have always been able to do. Yet the requested relief could arguably

 prevent access to the expert materials across all three cases in perpetuity.

         So too with deposition transcripts. While Defendants argue that allowing the American

 Spirit Plaintiffs access to the Jones and Fusion deposition transcripts before their own

 depositions would give them an advantage, the advantage is solely alleged on timing concerns.

 Once the American Spirit expert depositions have concluded, there is no longer any justification

 to preclude the deposition transcripts from being used in any of the three cases as has always

 been the case. Yet the language of the Motion’s requested relief appears to preclude Plaintiffs

 from using the depositions transcripts from the other cases in perpetuity. See ECF No. 357 at 7.




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        The Jones and Fusion Plaintiffs oppose the requested relief to the extent it seeks to

 impose new limitations in perpetuity, unmoored to the Defendants’ asserted basis for the relief.

 Any relief should be limited to addressing the specific concerns alleged and should specifically

 be limited in time.

        The Jones and Fusion Plaintiffs raised these concerns with Defendants, and informed

 Defendants that the Jones and Fusion Plaintiffs would not oppose the requested relief so long as

 it was limited in time to address Defendants’ alleged prejudice while otherwise maintaining the

 status quo. See Seidel Decl. ¶¶ 2–5 and Ex. A. The status quo provides the Plaintiffs in all three

 cases access to all three cases’ materials. Defendants and Plaintiffs were able to draft a clarified

 set of relief for which the Defendants could agree to, and which the Jones and Fusion Plaintiffs

 would not object to. Thus, the Jones and Fusion Plaintiffs do not oppose the following clarified

 set of relief, agreed to by the Defendants, and ask that if the Court grants Defendants’ Motion, it

 limit Defendants’ requested relief to the below three enumerated modifications. Plaintiffs submit

 that these clarified modifications fully address Defendants’ timing concerns but ensure that the

 status quo is maintained once the timing concerns are no longer applicable.

        1.      The Jones and Fusion Plaintiffs will not share expert reports with the American

 Spirit Plaintiffs or their experts until after the American Spirit Plaintiffs have received

 Defendants’ expert reports.

        2.      The Jones and Fusion Plaintiffs may not ask any questions or attend the

 Defendants’ or Plaintiffs’ expert depositions in the American Spirit case, and the American Spirit

 Plaintiffs may not ask any questions or attend the Defendants’ or Plaintiffs’ expert depositions in

 the Jones and Fusion cases.




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        3.      The Jones and Fusion Plaintiffs will not disclose the Defendants’ expert

 deposition transcripts or the Plaintiffs’ expert deposition transcripts from the Jones and Fusion

 cases until after the American Spirit Plaintiffs have taken the Defendants’ expert depositions.

        If the relief is limited to the above, the Jones and Fusion Plaintiffs do not object and take

 no position on Defendants’ Motion. But the Jones and Fusion Plaintiffs object to any relief that

 would limit Plaintiffs’ access to the materials from all three cases once Defendants’ specific

 timing concerns are no longer applicable.

        It is critical that Plaintiffs are ultimately able to use the expert materials from all three

 cases, as has always been the case. If Defendants’ experts make contradictory statements in their

 reports or in their depositions, Plaintiffs are entitled to use those contradictions for any purpose,

 including impeachment. The discovery orders have always provided Plaintiffs with access to the

 materials from all three cases for good reason. Irrespective of any timing concerns raised by

 Defendants in their Motion, which the Jones and Fusion Plaintiffs take no position on, Plaintiffs

 must still be allowed access to the expert materials across all three cases once the Defendants’

 timing concerns are no longer present.




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 Dated: October 3, 2022                Respectfully submitted,

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